Case 4:17-cv-00148-RAS-KPJ Document 19 Filed 06/09/17 Page 1 of 2 PagelID#: 160

. y
J y f Tae
EASTERN DISTRICT OF TEXAS aD)

SHERMAN DIVISION JUN 9
§ ; 2017
ler,
Afrem F Ghirmay, § “Us District
Plaintiff, § a °S Easter, Curl
§ ae
vs. § CIVIL ACTION NO. 4:17cv148
§
Asphalt Yacht Club, LLC §
Defendants. §

PLAINTIFF'S MOTION OF VOLUNTARY DISMISSAL PURSUANT TO F.R.CP. 41(a)(2)

 

 

TO THE HONORABLE JUDGE KIMBERLY PRIEST:

Plaintiff Afrem Ghirmay (“GHIRMAY”) files this Pursuant to Federal
Rule of Civil Procedure 41(a)(2). Plaintiff hereby give notice that the
above-styled action is voluntarily dismissed, without prejudice against
the Defendants. GHIRMAY asks the court that the dismissal is to be
without costs or restrictions.

Respectfully submitted,

 

Afrem F. Ghirmay- Pro Se
349 Oakhurst Drive
Murphy, Texas, 75094
469-878-1381
afrem.ghirmay@gmail.com
Case 4:17-cv-00148-RAS-KPJ Document 19 Filed 06/09/17 Page 2 of 2 PagelD#: 161

CERTIFICATE OF SERVICE

 

| hereby certify that a true and correct copy of the forgoing
instrument has been forwarded by first class mail to Shawn Brown and
by email to Anthony Phillips, Counsel for Asphalt Yacht Club June 9,
2017, and to Shawn Brown, the CEO of Asphalt Yacht Club.

Shawn Brown
1331 Specialty Drive,
Vista, California, 92081

Anthony Phillips

700 Louisiana Street Suite 2300
Houston, Texas, 7702
aphillips@skv.com

 

Afrem Ghirmay- Pro Se
349 Oakhurst Drive
Murphy, TX, 75094
afrem.ghirmay@gmail.com
